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                               EXHIBIT 2
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                            Case No. 12-20663-CR-ZLOCH/HUNT



   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   JORGE DE MORALES SANTE,

          Defendant,


   ______________________________/



                       SUPPLEMENTAL REPORT AND RECOMMENDATION

          This matter is before this Court on Defendant Jorge de Morales Sante’s Motion to

   Dismiss Indictment, filed on September 30, 2016.         ECF No. 217.     The Honorable

   William J. Zloch previously referred this motion to the undersigned United States

   Magistrate Judge for a report and recommendation. ECF No. 218; see also 28 U.S.C.

   § 636(b); S.D. Fla. Mag. R. 1. After carefully reviewing all pleadings and oral argument,

   the undersigned filed a REPORT AND RECOMMENDATION recommending that

   Sante’s motion be denied on the merits, ECF No. 229. Defendant filed objections, ECF

   No. 230, and the Government responded, ECF No. 233. Judge Zloch has now re-

   referred the Motion to the undersigned for reconsideration in light of intervening relevant

   Eleventh Circuit case law, ECF No. 240. After again carefully considering all relevant
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   pleadings and applicable law, the undersigned RECOMMENDS that the Motion be

   DISMISSED WITHOUT PREJUDICE for the additional reasons discussed below.

          In the original Report and Recommendation, the undersigned analyzed the

   applicability of the fugitive disentitlement doctrine to this case.        The undersigned

   concluded that the doctrine could be applied to these facts, but that it made more sense

   for this Court to reach the merits of the Motion.         In reaching this conclusion, the

   undersigned relied on United States v. Hijazi, 589 F.3d 401 (7th Cir. 2009).             The

   undersigned then recommended dismissal on the merits. There is no need to revisit the

   full analysis here.

          In its response to Defendant’s objections, the Government raised two “recent

   developments” in support of its argument that this Court should apply the fugitive

   disentitlement doctrine and decline to reach the merits of Defendant’s Motion. The first

   is the fact that Defendant has now been arrested and is awaiting extradition from Spain.

   The second is the Eleventh Circuit’s decision in United States v. Shalhoub, 855 F.3d

   1255 (11th Cir. 2017), which was decided after this case was briefed and argued before

   the undersigned.

          In Shalhoub, the Eleventh Circuit declined to issue a writ of mandamus ordering

   a district judge to rule on a motion to dismiss indictment without first requiring the

   defendant to appear in the jurisdiction. In doing so, the Eleventh Circuit found no “clear

   abuse of discretion” on the part of the district court in applying the fugitive disentitlement

   doctrine. 855 F.3d at 1263 (citing Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367,

   380 (2004)).    The Eleventh Circuit distinguished Hijazi, observing that “[u]nlike the

   petitioner in Hijazi, Shalhoub cites no refusal by the Saudi Government to extradite



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   him.” 855 F.3d at 1264. Ultimately, the Shalhoub court reasoned, mandamus was

   inappropriate because the petitioner had an adequate remedy available: appearance in

   the district court. Id. at 1265.

          The distinction raised by the Eleventh Circuit dovetails with the Government’s

   second “recent development.” The Government has advised this Court that subsequent

   to the entry of the original R & R, Defendant was arrested by Spanish authorities and

   released on bond pending his extradition to face these charges. ECF No. 233 at 5.

   This development is significant, as it removes one of the essential underpinnings of the

   undersigned’s reasoning in the original R & R.           While noting that the fugitive

   disentitlement doctrine is discretionary, a fact tacitly acknowledged by the Shalhoub

   court, the undersigned recommended against its application in this case largely for

   practical reasons: “Certainly the fugitive disentitlement doctrine could at least arguably

   be applied here.     But the result would likely be a multi-year impasse like the one

   ultimately remedied by mandamus in Hijazi.” ECF No. 229 at 8.

          Defendant’s arrest in Spain changes that analysis. Extradition proceedings are

   underway, and Defendant now has a forum in which to raise any legal barriers to his

   extradition to the United States. For example, the extradition treaty in force between the

   United States and Spain includes a requirement that the requesting state establish a

   prima facie case that the defendant committed the offense; that the warrant is not

   “manifestly ill-founded”; and that the offense for which extradition is requested is not

   political in nature. Extradition Treaty, U.S.-Spain, May 29, 1970, 22 U.S.T. 737. There

   is no longer a risk, as in Hijazi, of a multi-year impasse with no end in sight. This case




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   is now much more like Shalhoub, and application of the fugitive disentitlement doctrine

   is now more appropriate.

         In sum, while the fugitive disentitlement doctrine is discretionary, and it is

   therefore up to this Court to decide whether to apply it, the facts of this case have

   changed since the original R & R was issued. One of the most important factors relied

   upon by the undersigned is no longer in place.         Defendant is now in extradition

   proceedings and it appears likely he will soon be brought to this District to face the

   pending charges. Once he is here, he is free to challenge the Indictment by filing a

   motion to dismiss.    But until he is brought before this Court and is subject to its

   jurisdiction, this Court should exercise its discretion and decline to reach the merits of

   his Motion.

         Accordingly, the undersigned RECOMMENDS that Defendant’s Motion to

   Dismiss Indictment, ECF No. 217, be DENIED WITHOUT PREJUDICE to refile once he

   is properly within the jurisdiction of this Court, based upon the fugitive disentitlement

   doctrine. (Should the District Court decide to exercise its discretion and consider the

   Motion on its merits, the undersigned’s analysis and recommendation remain

   unchanged from the original Report and Recommendation, that is, the Motion should be

   denied on the merits.)

         Within fourteen days after being served with a copy of this Report and

   Recommendation, any party may serve and file written objections to any of the above

   findings and recommendations as provided by the Local Rules for this district.         28

   U.S.C. § 636(b)(1); S.D. Fla. Mag. R. 4(b). The parties are hereby notified that a failure

   to timely object waives the right to challenge on appeal the district court’s order based



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   on unobjected-to factual and legal conclusions contained in this Report and

   Recommendation. 11th Cir. R. 3–1 (2016); see Thomas v. Arn, 474 U.S. 140 (1985).

           DONE and SUBMITTED at Fort Lauderdale, Florida, this 12th day of February,

   2018.



                                          _____________________________________
                                          PATRICK M. HUNT
                                          UNITED STATES MAGISTRATE JUDGE


   Copies furnished to:

      The Honorable William J. Zloch

      All Counsel of Record




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